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ORDERED.

“Dated: June 10, 2021

 

 

Roberta‘. Colton |
United States Bankruptcy Judge

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

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In re
LILIA BELKOVA, Case No. 3:13-bk-07570-RCT
Chapter 12
Debtor.
LILIA BELKOVA,
Adv. No, 3:18-ap-180-RCT
Plaintiff/Counter Defendant,
Vv.
PNC BANK, N.A.,

Defendant/Counter Plaintiff.

 

ORDER DENYING MOTION FOR RELIEF FROM
SUMMARY JUDGMENT AND ORDER UNDER FED. R. BANKR. P. 9024

THIS PROCEEDING is before the Court on the Motion for Relief from Summary

 

Judgment and Order under Fed. R. Bankr. P. 9024 (the “Motion”) (Doc. 148), filed by the
Plaintiff/Counter Defendant, Lilia Belkova (the “Debtor”), the Response in Opposition to the

Motion, filed by the Defendant/Counter-Plaintiff, PNC Bank, N.A. (“PNC Bank”) (Doc. 149),

and the Reply to Response, filed by the Debtor (Doc. 158). The Motion is filed pursuant to

 

 
 

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Fed. R. Civ. Pro. 60(b) as adopted by Fed. R. Bankr. P. 9024.

In December 2018, the Debtor filed this proceeding to invalidate the mortgage lien
that PNC Bank held on certain real property located in Loxahatchee, Florida (the “Property”).
PNC Bank responded by filing a counterclaim to establish an equitable lien and/or to be
‘subrogated to the rights of the previous mortgage holder if the Debtor prevailed on her claim.
IPNC Bank then filed a Motion for Summary Judgment as to (1) the Debtor’s claim on the
theory that judicial estoppel, collateral estoppel, and/or res judicata precluded the Debtor from
bringing her claim to invalidate the len, and (2) as to its own counterclaims for equitable lien
and equitable subordination.

On March 25, 2020, the Court granted summary judgment in favor of PNC Bank
(“Summary Judgment”).'! The Summary Judgment effectively mooted the Debtor’s claim to
invalidate the mortgage lien that PNC Bank held on the Property. Specifically, the Court
found that PNC Bank has held enforceable lien rights from the time the PNC Mortgage and
underlying promissory note were executed, and that these equitable rights permit PNC Bank

to seek foreclosure and judicial sale of the Property in state court. The Debtor appealed and

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the appeal is currently pending in the District Court for the Middle District of Florida.’

| Despite the pending appeal, the Debtor now seeks to vacate the Summary Judgment,
nd grant judgment in her favor. In the Motion, the Debtor lists various grounds in support of

the relief she seeks, which includes claims of “newly discovered” evidence, and allegations of

misrepresentations and misconduct by PNC Bank. The Debtor also alleges that the Property

was never property of the estate, and that the Court therefore lacks subject matter jurisdiction.

Ultimately, the Debtor seeks a ruling from this Court that PNC’s mortgage on the Property is

| Does. 125 & 126.
_ *€ase No. §:20-ev-00143-BJD.

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“void ab initio.”3
In opposition, PNC Bank asserts that the relief sought is beyond the permissible scope
of Rule 60(b) because many of the arguments raised by the Debtor attack the merits of the
na Summary Judgment.* PNC Bank also argues that the Court has limited authority to
vacate its prior ruling because of the pending appeal and requests that the Court deny the
Motion pursuant to Federal Rule of Bankruptcy Procedure 8008 (“Rule 8008”).
Although the Motion is primarily premised on Rule 60(b), the Court finds that Rule
| 008 is applicable. Rule 8008 states:
If a party files a timely motion in the bankruptcy court for relief that the court
| lacks authority to grant because of an appeal that has been docketed and is
| pending, the bankruptcy court may:
(1) defer considering the motion;
(2) deny the motion; or
(3) state that the court would grant the motion if the court where the appeal is
pending remands for that purpose, or state that the motion raises a
substantial issue.
Rule 8008, therefore, “provides a procedure for the issuance of an indicative ruling when a
ankruptcy court determines that, because of a pending appeal, the court lacks jurisdiction to
grant a request for relief that the court concludes is meritorious or raises a substantial issue.”°
Upon review, the Court finds that the pending appeal divests the Court of jurisdiction

to decide the Motion. As recognized by a bankruptcy court in this District,

| A notice of appeal divests the lower court of jurisdiction over issues
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} Doc. 148, p. 26.

4 “(T]he law is clear that Rule 60(b) may not be used to challenge mistakes of law which could have been raised
on direct appeal.” 4m. Bankers Ins. Co. ef Fla. v. Nw. Nat. ins. Co., 198 F.3d 1332, 1338 (ith Cir. 1999);
Kstom Signals, ine. v. Applied Concepts, lnc.,. 247 F, Supp. 2d 1233, 1235 (D. Kan. 2003), aff'd, 111 F. App'x
1 (Fed. Cir. 2004) (“Like a motion to reconsider, a motion under Rule 60(b) is not a second opportunity for the
iohing party to make its strongest case, to rehash arguments, or to dress up arguments that previously failed.”).

5 Fed. R. Bankr. P. 8008 Advisory Committee Note to 2014 Amendment.

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related to the appeal. “The purpose of the general rule is to avoid the
confusion of placing the same matter before two courts at the same
time and preserve the integrity of the appeal process.” Once an appeal
is pending, the lower court cannot exercise jurisdiction over issues
which, although not directly on appeal, may affect the appeal or
circumvent the appeal process.®

The arguments raised by the Debtor are either arguments she previously made to this
Court, or arguments that she has raised on appeal. Ultimately, the Debtor seeks to relitigate
‘the issue of whether PNC Bank has enforceable lien rights in the Property, which is the. very
core of the matter that the Court has already issued a ruling on. Therefore, the relief sought
by the Debtor, if granted, would effectively moot the issues on appeal and improperly
interfere with the appellate process.’ At this juncture, the appellate court has exclusive
jurisdiction over the matter. Accordingly, the Court will deny the Motion pursuant to Rule
B008(a)(2). Accordingly, it ts
| ORDERED:

The Motion is DENIED.

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Nerk’s Office to Serve.

 

®\m re Ellingsworth Residential Cmty. Ass'n, Inc., No. 6.20-AP-Q0055-KSJ, 2021 WL 411199, at *3 (Bankr.

M.D. Fla. Feb. 5, 2021) (quoting in re In re Whispering Pines Estates, 3699 B.R. 752, 757 (B.A.P. (st Cir.
2007).

7 "Clearly, if the relief sought below would interfere with the appeal process, the Court whose order is on appeal

does not have any jurisdiction and should not interfere with the appeal process. The soundness of this
proposition is amply justified and needed in order to avoid confusion and waste of time which may oceur if two
cgurts were considering the same issues.” /n re Bilzerian, 188 B.R. 44, 45 (Bankr. M.D. Fla. 1995).

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